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                            Exhibit E




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                     Supreme Court of the United States
                                OFFICE OF THE CLERK
                               WASHINGTON, D.C. 20543




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                               OF NEW YORK, NY
was duly admitted and qualified as an Attorney and Counselor for the Supreme Court of the United States

on the seventeenth day of August, in the year two thousand and nine, and is now a member of the Bar of

this Court in good standing.

                                                                                  In testimony, whereof, as Clerk of said

                                                                                  Court, I have hereunto set my hand and

                                                                                  affixed the seal of said-Court, at the City




                                                                                                  ScottS. Harris
                                                                                              Clerk of the Supreme Court
                                                                                                  of the United States

                                                                     By


                                                                                         Assistant Admissions Officer
